Case 2:03-cV-02662-.]P|\/|-de Document 39 Filed 09/02/05 Page 1 of 3 Page|D 62

FlLED BY _ olc_

lN THE UNrrED sTATEs nlsrRIcT coURT 05 3
wEsTERN DISTRICT oF TENNESSEE EP "2 PH h= 2|
WESTERN DIvIsIoN

 

 

GARY W. CLEMONS, on behalf of himself

and all other similarly situated employees of

U.S. Concrete, Inc. and Titan Concrete

Industries (former]y known as Carrier Excavation
& Foundation Company),

Civil Action

Plajntiffs, NO. 03-2662 MIV

V.

TITAN CONCRETE lNDUSTRIES
(formerly known as CARRIER CONCRETE &
FOUNDATION COMPANY, INC.),

`_/\_/\_J\-,/\_/\._/\_/\./V'\./`_/\./\_J\_/\_/

Defendants.

 

ORDER OF DISMISSAL

 

The parties have filed a Joint Motion for entry, pursuant to Rule 4l(a) of the Federal
Rules of Civil Procedure, of an Order of Dismissal in this collective action under the Fair Labor
Standards Act as to all claims in this action. Pursuant to the motion, which incorporates the
written settlement agreements between all parties before the Court, Plaintiffs voluntarily dismiss
their claims with prejudice, and Defendant shall bear its own costs, as well as all attorney fees
and costs of the Plaintiffs to the extent reflected in the settlement agreements between the parties.

Having reviewed the Joint Motion, including the written settlement agreements, the Court
hereby orders that this cause is dismissed, with prejudice, with costs to be borne pursuant

to the Agreements.

This document entered on the docket sheet in cgmpliance
with Ru!e 55 and/or 79{3) FFtCP on '

 

Case 2:03-cV-02662-.]P|\/|-de Document 39 Filed 09/02/05 Page 2 of 3 Page|D 63

rr ls so 0RDERED, this _¢Q_ day of \S€D-\` - .2005.

gap m O.QQ
JO PHIPPS McCALLA
U ' ed States District Judge

 

 

ESTRNE 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:03-CV-02662 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Kenneth Wooten
2004 Bethel Road
Coldvvater, MS 38618

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Dan 1\/1. NorWood

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/1emphis7 TN 3 8 1 04--3 62

Mark .1. Levine

LAW FIRM OF LEVINE VON STERNBERG, P.C.

6363 Woodway
Ste 910
Houston, TX 77057

Carolyn Hovvard

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/1emphis7 TN 3 8 1 04--3 62

.1 effery Atchley

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/1emphis7 TN 3 8 1 04--3 62

Honorable .1 on McCalla
US DISTRICT COURT

